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November 6, 2020
                                                                 Application granted.
VIA ECF

Hon. Ronnie Abrams                                                                       SO ORDERED.
U.S. District Judge
U.S. District Court for the Southern District of New York
40 Foley Square, Courtroom 1506                                             ______________________
New York, NY 10007                                                               Hon. Ronnie Abrams
                                                                                   November 9, 2020
Re:     Paguada v. Vital Proteins LLC,
        Civil Action No.: 1:20-cv-06958-RA (S.D.N.Y.)

Dear Judge Abrams:

       This firm represents Defendant Vital Proteins LLC (“Defendant”) in the above-
referenced matter. We write, with the consent of Plaintiff Dilenia Paguada (“Plaintiff”), to
respectfully request a thirty (30) day extension of time for Defendant to respond to the
Complaint, up to and including December 9, 2020.

       By way of background, Plaintiff commenced this action on or about August 27,
2020. (ECF No. 1.) On September 8, 2020, Defendant executed a Waiver of Service of
Summons pursuant to Fed. R. Civ. P. 4, which makes Defendant’s responsive pleading
deadline November 9, 2020. (ECF No. 6.)

       This is Defendant’s first request for an extension of the responsive pleading
deadline. Counsel for the parties are exploring a potential non-litigated resolution of this
action. Defendant is respectfully requesting that the Court grant this extension to allow
the parties to continue focusing their time and resources on these discussions. We have
communicated with counsel for Plaintiff, and Plaintiff consents to this request.

        We respectfully submit this request in good faith and not to cause undue delay.
The granting of this application will not impact any other scheduled deadlines, including
the Initial Conference scheduled for December 11, 2020. We thank the Court for its time
and attention to this matter.




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                                                                             Page 2


Respectfully submitted,

SEYFARTH SHAW LLP


/s/ Samuel Sverdlov


Samuel Sverdlov


cc:     All counsel of record (via ECF)




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